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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 13-0222CCC
 1) EUCLIDES HERRERA-DURAN,
 a/k/a “Músico”
 2) MIGUEL AMARO-ESPAILLAT,
 a/k/a “Rubio”
 3) ALEXANDER LAFONTAINE-AGUERA
 Defendants



                                            ORDER

       Having considered the Report and Recommendation filed on September 23, 2013
(docket entry 71) on a Rule 11 proceeding of defendant [1] Euclides Herrera-Durán before
U.S. Magistrate Judge Bruce J. McGiverin on September 23, 2013, to which no objection
has been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since September 23, 2013. The sentencing hearing is set for
December 19, 2013 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on October 31, 2013.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
